Case 22-13032-amc           Doc 386-1 Filed 06/23/23 Entered 06/23/23 14:10:49              Desc
                              Certificate of Service Page 1 of 1



                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
 In re:                                            :     Chapter 9
                                                   :
 CITY OF CHESTER, PENNSYLVANIA,                    :     Case No. 22-13032
                                                   :
                         Debtor.                   :     Judge Ashely M. Chan
                                                   :

                                   CERTIFICATE OF SERVICE

          I, Tobey M. Daluz, Esquire, hereby certify that on this 23rd day of June 2023, I caused a

true and correct copy of the City of Chester’s Supplemental Response to the Motion by Chester

Water Authority Pursuant to Rule 2004 for Disclosure of Compensation of Legal Professionals

Representing Debtor’s Elected Officials to be served by electronic notice upon all parties

registered to receive notice via CM/ECF.


June 23, 2023                                  /s/ Tobey M. Daluz
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